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                                     ATTACHMENT A


                                  Premises to be Searched

              This warrant applies to information associated with the following Facebook user

ID and stored at premises owned, maintained, controlled, or operated by Facebook, a company

headquartered in Menlo Park, California:


           NAME                    FACEBOOK ID (UID)               FACEBOOK NAME
         Zaal M. Zaal                  1327048082                    Don Infamous Z




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                                        ATTACHMENT B

                                        Items to be Seized

         I.     Information to be disclosed by Facebook

       To the extent that the information described in Attachment A is within the possession,

custody, or control of Facebook Inc. (“Facebook”), regardless of whether such information is

located within or outside of the United States, including any messages, records, files, logs, or

information that have been deleted but are still available to Facebook, or have been preserved

pursuant to a request made under 18 U.S.C. § 2703(f), Facebook is required to disclose the

following information to the government for each user ID listed in Attachment A:

       (a)      All contact and personal identifying information, including full name, user

       identification number, birth date, gender, contact e-mail addresses, physical address

       (including city, state, and zip code), telephone numbers, screen names, websites, and other

       personal identifiers.

       (b)      All activity logs for the account and all other documents showing the user’s posts

       and other Facebook activities;

       (c)      All photos and videos uploaded by that user ID and all photos and videos uploaded

       by any user that have that user tagged in them, including Exchangeable Image File

       (“EXIF”) data and any other metadata associated with those photos and videos;

       (d)      All profile information; News Feed information; status updates; videos,

       photographs, articles, and other items; Notes; Wall postings; friend lists, including the

       friends’ Facebook user identification numbers; groups and networks of which the user is a

       member, including the groups’ Facebook group identification numbers; future and past




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event postings; rejected “Friend” requests; comments; gifts; pokes; tags; and information

about the user’s access and use of Facebook applications;

(e)      All records or other information regarding the devices and internet browsers

associated with, or used in connection with, that user ID, including the hardware model,

operating system version, unique device identifiers, mobile network information, and user

agent string;

(f)      All other records and contents of communications and messages made or received

by the user, including all Messenger activity, private messages, chat history, video and

voice calling history, and pending “Friend” requests;

(g)      All “check ins” and other location information;

(h)      All IP logs, including all records of the IP addresses that logged into the account;

(i)      All records of the account’s usage of the “Like” feature, including all Facebook

posts and all non-Facebook webpages and content that the user has “liked;”

(j)      All information about the Facebook pages that the account is or was a “fan” of;

(k)      All past and present lists of friends created by the account;

(l)      All records of Facebook searches performed by the account;

(m)      All information about the user’s access and use of Facebook Marketplace;

(n)      The types of service utilized by the user;

(o)      The length of service (including start date) and the means and source of any

payments associated with the service (including any credit card or bank account number);

(p)      All privacy settings and other account settings, including privacy settings for

individual Facebook posts and activities, and all records showing which Facebook users

have been blocked by the account;




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       (q)      All records pertaining to communications between Facebook and any person

       regarding the user or the user’s Facebook account, including contacts with support services

       and records of actions taken.

                Facebook is hereby ordered to disclose the above information to the government

       within 14 DAYS of service of this warrant.

       B.       Information to be seized by the government

                All information described above in Section A that constitutes fruits, evidence, and

instrumentalities of violations of Title 18, Title 18, United States Code, Sections 1591(a), 2421(a),

and 2423(a) involving Zaal M. Zaal, including, for the account identifiers listed on Attachment A,

information pertaining to the following matters:

       (a)      Messages, photographs, videos, memes, status updates, comments, or other
                postings or communications related to:

                1. Interstate travel;

                2. “Pimping,” “hoeing,” prostitution, or the exchange of sex acts for money;

                3. Recruitment of victims for sex trafficking;

                4. AV1;

                5. AV2.

                6. “Goldi Baby”

       (b)      Evidence of user attribution showing who used the Facebook account at the time
                the things described in this warrant were created, edited, or deleted;

       (c)      Evidence indicating how and when the Facebook account was accessed or used, to
                determine the chronological and geographic context of account access, use, and
                events relating to the crime under investigation and to the Facebook account owner
                or user;

       (d)      Evidence indicating the Facebook account owner or user’s state of mind as it relates
                to the crime under investigation;




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(d)      The identity of the person(s) who created or used the user ID, including records that
         help reveal the whereabouts of such person(s).




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July 21, 2020




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               I, Neal R. Lofy, being first duly sworn, hereby depose and state as follows:

                           INTRODUCTION AND AGENT BACKGROUND

        1.        I am a Task Force Officer with the Federal Bureau of Investigation (FBI) and have been

so employed since 2013.

        2.         I am a Detective with the Racine Police Department, a position I have held since 2012,

and I have been employed by the Racine Police Department since 2006. Since 2013, I have been

assigned to the Special Investigations Unit as the lead investigator on the Greater Racine Human

Trafficking Task Force.

        3.        I am currently assigned to the FBI Wisconsin Human Trafficking Task Force. My duties

as a Task Force Officer with the FBI include human trafficking investigations involving minors and

adults. I have gained experience in conducting such investigations through previous case investigations,

formal training, and in consultation with law enforcement partners in local, state, and federal law

enforcement agencies.

        4.        I have investigated human trafficking and violent crimes against children cases for

approximately 7 years. I have attended human trafficking trainings provided by the FBI and state law

enforcement.      I have provided training to various groups including law enforcement and local

governmental organizations. I have participated in numerous federal and local human trafficking

investigations.

        5.        The facts contained in this affidavit are known to me through my personal knowledge,

training, and experience, and through information provided to me by other law enforcement officers that

have provided information to me during the course of their official duties and whom I consider to be

truthful and reliable.




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                                     PURPOSE OF AFFIDAVIT

       6.      I make this affidavit in support of an application for a search warrant for information

associated with a Facebook user ID that is stored at premises owned, maintained, controlled, or operated

by Facebook, Inc. (“Facebook”), a social networking company headquartered in Menlo Park, California.

The information to be searched is described in the following paragraphs and in Attachment A. This

affidavit is made in support of an application for a search warrant under 18 U.S.C. § 2703(a),

2703(b)(1)(A) and 2703(c)(1)(A) to require Facebook to disclose to the government records and other

information in its possession, pertaining to the subscribers or customers associated with the specified

Facebook user ID.

       7.      More specifically, I seek authorization to search Facebook’s information associated with

the following individual, whom I have identified by name as well as by Facebook account name:

         NAME                            FACEBOOK ID (UID)                  FACEBOOK NAME


         Zaal M. Zaal                    1327048082                         Don Infamous Z


       8.      Based on my training and experience and the facts as set forth in this affidavit, there is

probable cause to believe that violations of Title 18, United States Code, Sections 1591(a) and 2421(a)

have been committed by Zaal M. Zaal. There is also probable cause to search the information described

in Attachment A for evidence of these crimes, as described in Attachment B.

       9.      Since this affidavit is only for the limited purpose of securing a search warrant, I have not

set forth each and every fact known to me concerning this investigation. I have included what I believe

are facts sufficient to establish probable cause for the warrants sought.

               SUMMARY OF THE INVESTIGATION AND PROBABLE CAUSE

   A. Case Opening/Reports Received from Local law Enforcement

       10.     In April 2020, I became the case agent on a Human Trafficking investigation concerning

Zaal M. Zaal, a male born in December 1977. During the course of my investigation, I reviewed reports

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from local law enforcement organizations concerning the activities of Zaal M. Zaal. I consider these

reports to be reliable.

    B. Cudahy Police Contact with AV1

        11.     On February 12, 2020, police officers of the Cudahy Police Department, including

Cudahy Police Officer Brian Ploch, responded to 3540 East Library Drive, Apartment #304, Cudahy,

Wisconsin 53110, regarding a noise complaint (people arguing). Upon arrival, the officers waited outside

prior to knocking and confirmed that a verbal argument was occurring within apartment #304. Officer

Ploch heard a male yelling at a female about a video.

        12.     The officers were allowed inside apartment #304 by Zaal M. Zaal and made contact with

a female identified as AV1, (a female born in January 1994) who was dressed only in lingerie. AV1

appeared under the influence of drugs or alcohol to Officer Ploch and was hesitant to talk with law

enforcement. AV1 stated she did not have a cellphone and did not have any identification. AV1 informed

the officers that she was from a different state and came to Wisconsin to be with Zaal, whom she loved.

        13.     Inside the apartment, Officer Ploch made several observations that he believed to be

suspicious. There was a large quantity of alcohol and boxes of cigars inside apartment #304, which

caused him to believe it looked more like a party house than a living house. Also, inside the apartment

was a display case with numerous chalices which had been decorated with jewels. Through my training

and experience, people who control victims of prostitution sometimes purchase chalices decorated with

jewels also known as, “Pimp Cups” to denote their status and reputation as pimps. Examples of publicly

viewable posts from the “Don Infamous Z” Facebook account shows Zaal holding several chalices.

These posts are appended to this affidavit in Attachment C. Additionally, inside the bedroom in which

Officer Ploch spoke to AV1 was a stripper pole and web cameras.

    C. Interview of AV1 on March 7, 2020 by Cudahy Police Department (Part 1)

        14.     On March 7, 2020, Officer Ploch contacted AV1 via telephone (859)382-XXX and spoke

to her for approximately an hour. AV1 indicated the following. At the time of the conversation, AV1
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was no longer with Zaal. AV1 told Officer Ploch that Zaal had taken everything from her, including her

clothes and money. AV1 told Officer Ploch that Zaal is going to do this to someone else and is already

doing this to someone else.

       15.     AV1 met Zaal through Facebook and started communicating with him through Facebook

approximately one year prior to the date of this interview. AV1 was initially intrigued by Zaal’s lifestyle

that he portrays on Facebook. AV1 stated that Zaal gets girls by leading them into a luxurious life and

once he has them, it is hard to escape. AV1 stated that Zaal uses the Facebook name, “Don Infamous Z.”

Investigators identified the “Don Infamous Z” Facebook account that AV1 had reported. It appears that

Zaal M. Zaal controls this account. Pictures posted on the Facebook page matched Zaal’s appearance

observed during surveillance operations.

       16.     AV1 made several trips to Wisconsin to visit with Zaal. Initially, AV1 did not want to

discuss what occurred during these visits. AV1 did elaborate and say that she was not allowed to leave

Zaal’s apartment nor was she allowed to talk to anyone besides Zaal while she was there.

       17.     Zaal asked AV1 to start working for him. This work entailed “WebCamming.”

“WebCamming” refers to a Cybersex practice in which buyers enter an online webcam chat site and pay

sellers to perform sex acts on themselves or others in front of an internet connected device with live-

streaming software. Victims of cybersex trafficking are trafficked or transported to ‘cybersex dens,’

which are rooms or locations with a webcam. The cybercrime also involves the transporting or streaming

of images of the victims’ bodies and sexual assaults in real time through a computer with a webcam to

other computers connected to the internet. Zaal convinced AV1 to get on a WebCam in order for her to

start making money. AV1 did not feel comfortable doing WebCam work, but wanted to impress Zaal

and felt manipulated to do so.

       18.      AV1 stated the money she earned from WebCamming went directly into Zaal’s bank

account and AV1 never saw any of it. AV1 stated that Zaal created a WebCam account and screen name

for AV1 on the website Flirtforfree.com. AV1 believes that Zaal has now deleted the account.
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          19.    AV1 described what Zaal asked her to do on the webcam site. AV1 stated Zaal wanted

AV1 to get a toy (referring to sex toys), but she did not feel comfortable doing that and told Zaal that

she wanted to stop WebCamming. AV1 went on to explain that people on the website would ask AV1

to shake her butt or show them her breasts in exchange for money. AV1 would do that, but eventually it

became too much for her and she did not want to do it anymore. The money sent for these sexual acts

went directly to Zaal. AV1 stated she never saw any of it. Zaal would tell AV1 that she cannot manage

her money or that she did not need the money. Zaal also began referring to himself as a pimp.

          20.    AV1 told Officer Ploch that things got worse and Zaal began pressuring her more and

more. Zaal would yell at AV1 and tell her that she was not good enough, that she did not make enough

money, and their relationship became violent. AV1 stated that Zaal always has a gun on him and has

threatened AV1 with a gun in the past. Zaal has never pointed the gun at AV1. When things would get

bad between them, AV1 stated she would shut up so things never got to the point of Zaal using the gun

on her.

          21.    AV1 told Officer Ploch that Zaal is keeping her belongings including her clothes and his

refusing to give them back is a type of control method. AV1 believes that Zaal always knows her location

and that he has tapped into her phone. AV1 stated that she would participate in private phone

conversations and Zaal would later tell her details of the conversation.

          22.    AV1 told Officer Ploch about another girl in which Zaal is talking with. AV1 only knows

the girl by her Facebook name “Goldie Babi.” Zaal was introduced to “Goldie Babi” through Facebook.

AV1 described text messages between Zaal and AV1 and feels she is easily manipulated and acts like a

15 year old. AV1 believes this girl is young, maybe 17 or 18 years old. AV1 has not met “Goldie Babi.”

AV1 stated “Goldie Babi” is coming up to be with Zaal. AV1 stated “Goldie Babi” is from Albuquerque,

New Mexico. The Facebook profile name “Goldie Babi” is listed on Facebook, however, the profile is

set to private and therefore no additional information about her is available.



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        23.    AV1 told Officer Ploch about several trips she took to Chicago with Zaal and a woman

named Deborah E. Harrison or “Mama.” Harrison makes Zaal’s pimp cups. According to AV1, Harrison

lives in Chicago and Zaal took her to see Harrison several times. When they made the trips to Chicago,

Zaal would bring Harrison marijuana, CBD, and bottles of alcohol. When AV1 went out to dinner with

Zaal and Harrison, Zaal asked AV1 to start calling him “Daddy,” a term I know from my training and

experience to be a title that many pimps or sex traffickers insist being called by the women whom they

prostitute.

        24.    AV1 told Officer Ploch that Zaal has done this to another girl, AV2 from Milwaukee.

AV1 stated that Zaal has a couple other girls that are working out of the Super 8 Motel. Investigators

believe this to be the Super 8 by Wyndham, Milwaukee Airport, 5352 South Howell Avenue, Milwaukee

Wisconsin 53207. AV1 believes Zaal has a website to advertise the girls but does not know the page he

is using.

    D. Interview of AV1 on March 7, 2020 by Cudahy Police Department (Part 2)

        25.    On March 7, 2020, AV1 contacted Officer Ploch to continue to discuss the information

she provided in their earlier conversation.

        26.    AV1 told Officer Ploch that Zaal convinced her that if she did what he told her, he would

take care of her for the rest of her life. Zaal asked AV1 to make money and asked AV1 to do sex work.

AV1 eventually agreed to do what Zaal wanted.

        27.    Over the course of approximately two weeks, AV1 sent Zaal thousands of dollars via

Walmart wires. Zaal convinced AV1 that by sending the money, they would buy a house together and

be a family. AV1 stated that she thought that Zaal was going to change and stop making her do things

she did not want to do.

        28.    Zaal took AV1 to a Super 8 motel. AV1 did not know the exact location of the hotel as

she was not allowed out much and was not familiar with the area. While at the Super 8, Zaal would set

up meetings with other men. The room at the Super 8 was in Zaal’s name. Zaal would text AV1 and
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inform her that she had someone coming to meet her. Zaal arranged more than four people to meet her

for sex for a period of approximately three to four days.

       29.     AV1 described “sex” as penis to vagina sexual intercourse. AV1 did not get any money

from these men as the money went straight to Zaal. According to AV1, Zaal would charge $150 for 30

minutes and $200 for 60 minutes with AV1. All of the prostitution occurred at the Super 8. Zaal would

drive AV1 to the motel and then pick her up.

       30.     Zaal tried to get AV1 to use drugs and gave her cocaine on at least one occasion. Zaal

would use THC products with her. AV1 believed Zaal was using drugs to take advantage of her.

       31.     AV1 told Officer Ploch that if she did not do what Zaal wanted, she would be stuck. Zaal

had all her money and she had no way out. Based on my training and experience, human trafficking

victims are completely reliant on their traffickers and not have access to money or transportation and

must rely solely on their traffickers for food, shelter, safety and necessities. These circumstances create

a situation in which human trafficking victims feel trapped as they do not have the ability or means to

leave their trafficker. Zaal would also make comments to her such as, “Bitch you’re going to do what I

want you to do,” and, “you better listen to me.” Zaal would call her names such as a whore.

       32.     AV1 told Officer Ploch that prior to meeting Zaal, she had never engaged in prostitution

before but has done exotic dancing in the past. She felt that working for Zaal would allow her to get out

of dancing and create a better life for herself.

       33.     AV1 told Officer Ploch that Zaal wanted her to strip and masturbate on webcam in

exchange for money. People on the websites would send money electronically in exchange for AV1 to

perform sex acts (such as strip or masturbate). AV1 never received any of that money. AV1 stated the

money went directly to Zaal. AV1 stated she was conducting sex acts in exchange for money, via

webcam, every day. At the time AV1 was performing on the webcam, she believed that Zaal would not

leave her and would use the money to take care of her. This turned out to be untrue.



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       34.     AV1 stated that Zaal would not take “no” for an answer. For example, besides being

forced by Zaal to participate in webcam sessions and engage in sexual intercourse at the Super 8 Motel,

Zaal forced AV1 into anal sex, which she did not want to do. AV1 did not view this as rape because she

believed they were in a relationship. AV1 felt as though she could not say no to him.

       35.     Zaal told AV1 that she should kill herself and that he is going to kill her. In my training

and experience human traffickers will often tell their victims to kill/harm themselves as a means of

manipulation and to try to maintain control of them. Zaal has asked AV1 for her out of state address,

which AV1 did not give to him because she does not want to be put back in a situation in which she just

left. AV1 wants to help law enforcement do something about him as she does not want what happened

to her to happen to another person.

   E. Telephonic Interview of AV1 on April 3, 2020

       36.     On April 3, 2020, FBI Agent John Sokolowski spoke to AV1 telephonically. AV1 stated

the following. AV1 met Zaal approximately one year ago on Facebook. They began communicating and

eventually AV1 traveled to Milwaukee, WI to visit Zaal. Zaal continuously promised AV1 that he would

provide her with the lifestyle that she wanted.

       37.     When AV1 was staying with Zaal, he eventually asked her to "do stuff" (meaning perform

sex acts in exchange for money) and became both physically and verbally abusive towards her if she

refused.

       38.      AV1 stated that Zaal uses flashy things, including pimp cups and jewelry, to attract girls.

Zaal sends AV1 photos of other girls that he claims he is with to make AV1 jealous and come back to

him. AV1 believes that Zaal will treat these other girls the same way he treated her because Zaal will

never change and has hurt many other girls in the past. Zaal goes after weak women whom he can show

strength to and then break down and control. Zaal has described his past girls as whores.




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   F. Zaal’s Facebook Account

       39.     Investigators identified the “Don Infamous Z” Facebook account that AV1 had reported.

It appears that Zaal M. Zaal controls this account. Pictures posted on the page are consistent with Zaal’s

appearance observed during surveillance operations.

       40.      AV1 disclosed during multiple interviews that she communicated with Zaal through

Facebook. Through my training and experience, I have learned that human traffickers often recruit and

communicate with victims through Facebook.

       41.     Examples of publicly viewable photos from the Don Infamous Z account are appended

to this affidavit in Attachment C.

        GENERAL AND SPECIALIZED KNOWLEDGE CONCERNING FACEBOOK

       42.     Facebook owns and operates a free-access social networking website of the same name

that can be accessed at http://www.facebook.com. Facebook allows its users to establish accounts with

Facebook, and users can then use their accounts to share written news, photographs, videos, and other

information with other Facebook users, and sometimes with the general public.

       43.     Facebook asks users to provide basic contact and personal identifying information to

Facebook, either during the registration process or thereafter. This information may include the user’s

full name, birth date, gender, contact e-mail addresses, Facebook passwords, physical address (including

city, state, and zip code), telephone numbers, screen names, websites, and other personal identifiers.

Facebook also assigns a user identification number to each account.

       44.     A Facebook user can connect directly with other individual Facebook users by sending

each user a “Friend Request.” If the recipient of a “Friend Request” accepts the request, then the two

users will become “Friends” for purposes of Facebook and can exchange communications or view

information about each other. Each Facebook user’s account includes a list of that user’s “Friends” and

a “News Feed,” which highlights information about the user’s “Friends,” such as profile changes,

upcoming events, and birthdays.
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       45.      Facebook users can select different levels of privacy for the communications and

information associated with their Facebook accounts. By adjusting these privacy settings, a Facebook

user can make information available only to himself or herself, to particular Facebook users, or to anyone

with access to the Internet, including people who are not Facebook users. A Facebook user can also

create “lists” of Facebook friends to facilitate the application of these privacy settings. Facebook

accounts also include other account settings that users can adjust to control, for example, the types of

notifications they receive from Facebook.

       46.     Facebook users can create profiles that include photographs, lists of personal interests,

and other information. Facebook users can also post “status” updates about their whereabouts and

actions, as well as links to videos, photographs, articles, and other items available elsewhere on the

Internet. Facebook users can also post information about upcoming “events,” such as social occasions,

by listing the event’s time, location, host, and guest list. In addition, Facebook users can “check in” to

particular locations or add their geographic locations to their Facebook posts, thereby revealing their

geographic locations at particular dates and times. A particular user’s profile page also includes a

“Wall,” which is a space where the user and his or her “Friends” can post messages, attachments, and

links that will typically be visible to anyone who can view the user’s profile.

       47.     Facebook allows users to upload photos and videos, which may include any metadata

such as location that the user transmitted when s/he uploaded the photo or video. It also provides users

the ability to “tag” (i.e., label) other Facebook users in a photo or video. When a user is tagged in a

photo or video, he or she receives a notification of the tag and a link to see the photo or video. For

Facebook’s purposes, the photos and videos associated with a user’s account will include all photos and

videos uploaded by that user that have not been deleted, as well as all photos and videos uploaded by

any user that have that user tagged in them.

       48.     Facebook users can exchange private messages on Facebook with other users. Those

messages are stored by Facebook unless deleted by the user. Facebook users can also post comments on
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the Facebook profiles of other users or on their own profiles; such comments are typically associated

with a specific posting or item on the profile. In addition, Facebook has a chat feature that allows users

to send and receive instant messages through Facebook Messenger. These chat communications are

stored in the chat history for the account. Facebook also has Video and Voice Calling features, and

although Facebook does not record the calls themselves, it does keep records of the date of each call.

       49.      Facebook has a “like” feature that allows users to give positive feedback or connect to

particular pages. Facebook users can “like” Facebook posts or updates, as well as webpages or content

on third-party (i.e., non-Facebook) websites.

       50.     Facebook has a search function that enables its users to search Facebook for keywords,

usernames, or pages, among other things.

       51.     Each Facebook account has an activity log, which is a list of the user’s posts and other

Facebook activities from the inception of the account to the present. The activity log includes stories

and photos that the user has been tagged in, as well as connections made through the account, such as

“liking” a Facebook page or adding someone as a friend. The activity log is visible to the user but cannot

be viewed by people who visit the user’s Facebook page.

       52.        Facebook also has a Marketplace feature, which allows users to post free classified ads.

Users can post items for sale, housing, jobs, and other items on the Marketplace.

       53.     In addition to the applications described above, Facebook also provides its users with

access to thousands of other applications (“apps”) on the Facebook platform. When a Facebook user

accesses or uses one of these applications, an update about that the user’s access or use of that application

may appear on the user’s profile page.

       54.     Facebook also retains Internet Protocol (“IP”) logs for a given user ID or IP address.

These logs may contain information about the actions taken by the user ID or IP address on Facebook,

including information about the type of action, the date and time of the action, and the user ID and IP

address associated with the action. For example, if a user views a Facebook profile, that user’s IP log
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would reflect the fact that the user viewed the profile, and would show when and from what IP address

the user did so.

       55.     Social networking providers like Facebook typically retain additional information about

their users’ accounts, such as information about the length of service (including start date), the types of

service utilized, and the means and source of any payments associated with the service (including any

credit card or bank account number). In some cases, Facebook users may communicate directly with

Facebook about issues relating to their accounts, such as technical problems, billing inquiries, or

complaints from other users. Social networking providers like Facebook typically retain records about

such communications, including records of contacts between the user and the provider’s support

services, as well as records of any actions taken by the provider or user as a result of the communications.

       56.     As explained herein, information stored in connection with a Facebook account may

provide crucial evidence of the “who, what, why, when, where, and how” of the criminal conduct under

investigation, thus enabling the United States to establish and prove each element or alternatively, to

exclude the innocent from further suspicion. In my training and experience, a Facebook user’s IP log,

stored electronic communications, and other data retained by Facebook, can indicate who has used or

controlled the Facebook account. This “user attribution” evidence is analogous to the search for “indicia

of occupancy” while executing a search warrant at a residence. For example, profile contact information,

private messaging logs, status updates, and tagged photos (and the data associated with the foregoing,

such as date and time) may be evidence of who used or controlled the Facebook account at a relevant

time. Further, Facebook account activity can show how and when the account was accessed or used.

For example, as described herein, Facebook logs the Internet Protocol (IP) addresses from which users

access their accounts along with the time and date. By determining the physical location associated with

the logged IP addresses, investigators can understand the chronological and geographic context of the

account access and use relating to the crime under investigation. Such information allows investigators

to understand the geographic and chronological context of Facebook access, use, and events relating to
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the crime under investigation. Additionally, Facebook builds geo-location into some of its services.

Geo-location allows, for example, users to “tag” their location in posts and Facebook “friends” to locate

each other. This geographic and timeline information may tend to either inculpate or exculpate the

Facebook account owner. Last, Facebook account activity may provide relevant insight into the

Facebook account owner’s state of mind as it relates to the offense under investigation. For example,

information on the Facebook account may indicate the owner’s motive and intent to commit a crime

(e.g., information indicating a plan to commit a crime), or consciousness of guilt (e.g., deleting account

information in an effort to conceal evidence from law enforcement).

       57.      Therefore, the computers of Facebook are likely to contain all the material described

above, including stored electronic communications and information concerning subscribers and their use

of Facebook, such as account access information, transaction information, and other account

information.

       58.      I know based on my training and experience that traffickers and pimps commonly use

Facebook to indicate to others their status as a pimp, and to show cash, vehicles, clothing, and other

material goods they have obtained as a result of the lifestyle. They also use Facebook to communicate

with and recruit victims of human trafficking. Based on my training and experience I know that if a

trafficker or pimp has recruited one victim through Facebook, there are likely to be additional victims

that he or she has attempted to recruit through that same medium.

                  INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

       59.      I anticipate executing this warrant under the Electronic Communications Privacy Act, in

particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A), by using the warrant to require

Facebook to disclose to the government copies of the records and other information (including the

content of communications) particularly described in Section I of Attachment B. Upon receipt of the

information described in Section I of Attachment B, government-authorized persons will review that

information to locate the items described in Section II of Attachment B.
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                                                CONCLUSION

        60.     I submit that this Affidavit supports probable cause for a search warrant authorizing the

search of the “Don Infamous Z” Facebook account described in Attachment A for the items of evidence

described in Attachment B.

        61.     This Court has jurisdiction to issue the requested warrant because it is “a court of

competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A) & (c)(1)(A).

Specifically, the Court is “a district court of the United States . . . that – has jurisdiction over the offense

being investigated.” 18 U.S.C. § 2711(3)(A)(i).

        62.     Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not required

for the service or execution of this warrant.




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                                       ATTACHMENT A


                                     Premises to be Searched

              This warrant applies to information associated with the following Facebook user ID and

stored at premises owned, maintained, controlled, or operated by Facebook, a company headquartered

in Menlo Park, California:


            NAME                     FACEBOOK ID (UID)                  FACEBOOK NAME
          Zaal M. Zaal                   1327048082                       Don Infamous Z




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                                          ATTACHMENT B

                                          Items to be Seized

         I.    Information to be disclosed by Facebook

       To the extent that the information described in Attachment A is within the possession, custody,

or control of Facebook Inc. (“Facebook”), regardless of whether such information is located within or

outside of the United States, including any messages, records, files, logs, or information that have been

deleted but are still available to Facebook, or have been preserved pursuant to a request made under 18

U.S.C. § 2703(f), Facebook is required to disclose the following information to the government for each

user ID listed in Attachment A:

       (a)     All contact and personal identifying information, including full name, user identification

       number, birth date, gender, contact e-mail addresses, physical address (including city, state, and

       zip code), telephone numbers, screen names, websites, and other personal identifiers.

       (b)     All activity logs for the account and all other documents showing the user’s posts and

       other Facebook activities;

       (c)     All photos and videos uploaded by that user ID and all photos and videos uploaded by

       any user that have that user tagged in them, including Exchangeable Image File (“EXIF”) data

       and any other metadata associated with those photos and videos;

       (d)     All profile information; News Feed information; status updates; videos, photographs,

       articles, and other items; Notes; Wall postings; friend lists, including the friends’ Facebook user

       identification numbers; groups and networks of which the user is a member, including the groups’

       Facebook group identification numbers; future and past event postings; rejected “Friend”

       requests; comments; gifts; pokes; tags; and information about the user’s access and use of

       Facebook applications;




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(e)    All records or other information regarding the devices and internet browsers associated

with, or used in connection with, that user ID, including the hardware model, operating system

version, unique device identifiers, mobile network information, and user agent string;

(f)    All other records and contents of communications and messages made or received by the

user, including all Messenger activity, private messages, chat history, video and voice calling

history, and pending “Friend” requests;

(g)    All “check ins” and other location information;

(h)    All IP logs, including all records of the IP addresses that logged into the account;

(i)    All records of the account’s usage of the “Like” feature, including all Facebook posts and

all non-Facebook webpages and content that the user has “liked;”

(j)    All information about the Facebook pages that the account is or was a “fan” of;

(k)    All past and present lists of friends created by the account;

(l)    All records of Facebook searches performed by the account;

(m)    All information about the user’s access and use of Facebook Marketplace;

(n)    The types of service utilized by the user;

(o)    The length of service (including start date) and the means and source of any payments

associated with the service (including any credit card or bank account number);

(p)    All privacy settings and other account settings, including privacy settings for individual

Facebook posts and activities, and all records showing which Facebook users have been blocked

by the account;

(q)    All records pertaining to communications between Facebook and any person regarding

the user or the user’s Facebook account, including contacts with support services and records of

actions taken.

       Facebook is hereby ordered to disclose the above information to the government within

14 DAYS of service of this warrant.
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       B.      Information to be seized by the government

               All information described above in Section A that constitutes fruits, evidence, and

instrumentalities of violations of Title 18, Title 18, United States Code, Sections 1591(a), 2421(a), and

2423(a) involving Zaal M. Zaal, including, for the account identifiers listed on Attachment A,

information pertaining to the following matters:

       (a)     Messages, photographs, videos, memes, status updates, comments, or other postings or
               communications related to:

               1. Interstate travel;

               2. “Pimping,” “hoeing,” prostitution, or the exchange of sex acts for money;

               3. Recruitment of victims for sex trafficking;

               4. AV1;

               5. AV2.

               6. “Goldi Baby”

       (b)     Evidence of user attribution showing who used the Facebook account at the time the
               things described in this warrant were created, edited, or deleted;

       (c)     Evidence indicating how and when the Facebook account was accessed or used, to
               determine the chronological and geographic context of account access, use, and events
               relating to the crime under investigation and to the Facebook account owner or user;

       (d)     Evidence indicating the Facebook account owner or user’s state of mind as it relates to
               the crime under investigation;

       (d)     The identity of the person(s) who created or used the user ID, including records that help
               reveal the whereabouts of such person(s).




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                             Attachment C

Excerpts from Publicly-Viewable Content on Don Infamous Z Facebook Page




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